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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE RICHARD K. EATON, JUDGE
__________________________________________
                                           )
H&E HOME, INC. and CLASSIC METALS          )
SUPPLIERS,                                 )
                                           )
                  Plaintiffs,              )
                                           )
      and                                  )
                                           )
GLOBAL ALUMINUM DISTRIBUTOR LLC,           ) Consol. Court No. 21-00337
INDUSTRIAS FELICIANO ALUMINUM, INC., )
JL TRADING CORP., and PUERTAS Y            )
VENTANAS J.M., INC.,                       )
                                           )
                  Consolidated Plaintiffs, )
      and                                  )
                                           )
KINGTOM ALUMINIO S.R.L.,                   )
                                           )
                  Plaintiff-Intervenor,    )
                                           )
      v.                                   )
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                           )
      and                                  )
                                           )
ALUMINUM EXTRUSIONS FAIR TRADE             )
COMMITTEE,                                 )
                                           )
                  Defendant-Intervenor.    )
__________________________________________)

                                            ORDER

        Upon review of defendant’s motion for voluntary remand, and all other pertinent papers,

it is hereby

        ORDERED that the motion is granted; and it is further
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       ORDERED that the June 4, 2021 determination by U.S. Customs and Border Protection

(CBP) in the administrative review of EAPA Consol. Case Number 7423 is remanded to CBP for

further consideration; and it is further

       ORDERED that the remand proceedings shall be completed within one-hundred and

twenty (120) days of the date of this Order; and it is further

       ORDERED that defendant shall file a copy of any remand determination within one-

hundred and twenty-five (125) days of the date of this Order; and it is further

       ORDERED that defendant shall file a copy of any supplemental administrative record

documents within one-hundred and forty (140) days of the date of this Order; and it is further

       ORDERED that the parties will propose a briefing schedule within fifteen (15) days of

the filing of the remand determination.




Dated: _____________                                                        __________________
       New York, NY                                                               JUDGE




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INDUSTRIAS FELICIANO ALUMINUM, INC., )
JL TRADING CORP., and PUERTAS Y            )
VENTANAS J.M., INC.,                       )
                                           )
                  Consolidated Plaintiffs, )
      and                                  )
                                           )
KINGTOM ALUMINIO S.R.L.,                   )
                                           )
                  Plaintiff-Intervenor,    )
                                           )
      v.                                   )
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                           )
      and                                  )
                                           )
ALUMINUM EXTRUSIONS FAIR TRADE             )
COMMITTEE,                                 )
                                           )
                  Defendant-Intervenor.    )
__________________________________________)

                DEFENDANT’S MOTION FOR VOLUNTARY REMAND

       Pursuant to Rules 7 and 56.2 of the Rules of the U.S. Court of International Trade

(USCIT), defendant respectfully requests that the Court remand the June 4, 2021 final

determination by U.S. Customs and Border Protection (CBP) in the administrative review of the

Enforce and Protect Act (EAPA), 19 U.S.C. § 1517, Consol. Case No. 7423. See Public Admin.
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Rec. Doc (P.R.) No. 712, ECF No. 25-3. Remand would allow CBP to (1) provide the parties

with public summaries of business confidential information in the administrative record; (2)

review and consider documents that were mistakenly omitted from the administrative record; and

(3) revisit and reweigh the record evidence in light of CBP’s remand determination in EAPA

Consol. Case No. 7348, Global Aluminum Distributor LLC et al. v. United States et al., Court

No. 21-00198 (Global) in order for CBP to reevaluate its decision that substantial evidence of

evasion exists.

        As demonstrated below, our request for a voluntary remand is substantial and legitimate,

conserves judicial resources, and fosters the just and efficient resolution of this matter. USCIT

R. 1.

                                        BACKGROUND

        On January 27, 2020, CBP initiated a formal EAPA investigation in response to an

allegation of evasion filed by the Aluminum Extrusions Fair Trade Committee (AEFTC), a

committee of domestic producers of aluminum extrusions. See Confidential Admin. Rec. Doc

(C.R.) No. 824, ECF No. 26-2. The AEFTC alleged that H&E Home Inc. (H&E), Classic Metals

Suppliers (Classic), Florida Aluminum Extrusion, LLC (Florida), Global Aluminum Distributor,

LLC (Global), Industrias Feliciano Aluminum Inc. (Industrias), JL Trading Corp. (JL), and

Puertas y Ventanas J.M., Inc. (Puertas) (collectively, the Importers) imported Chinese-origin

aluminum extrusions into the United States by transshipment through Kingtom Aluminio S.R.L.

(Kingtom), a Dominican Republic producer and exporter of aluminum extrusions, to evade the

payment of antidumping and countervailing (AD/CV) duties on aluminum extrusions from the




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People’s Republic of China.1 Id. CBP’s ensuing investigation was designated EAPA Consol.

Case No. 7423. Of significance, the record for Consol. Case No. 7423 includes information from

the record for Consol. Case No. 7348, which concerned similar allegations of evasion involving

aluminum extrusions exported by Kingtom that was submitted by a different alleger against

Global, Florida, and another importer. Challenges to Consol. Case No. 7348 ultimately resulted

in the Global action.

       On January 28, 2021, CBP’s Trade Remedy Law Enforcement Directorate (TRLED)

issued a notice of determination of evasion, finding substantial evidence that the Importers

entered into the United States Chinese-origin aluminum extrusions that were either comingled or

transshipped through Kingtom’s facility in the Dominican Republic, with a claimed country of

origin as the Dominican Republic. See C.R. No. 824. As a result of TRLED’s determination,

CBP suspended or continued to suspend the Importers’ entries, rate-adjusted any previously

extended entries to type 03 (AD/CV), and continued to require single transaction bonds as

appropriate. Id.

       Upon requests from the Importers, CBP’s Regulations and Rulings (R&R) conducted an

administrative de novo review of TRLED’s determination. See P.R. No. 712. On June 4, 2021,

R&R affirmed TRLED’s determination of evasion. Id. Even though R&R found that Kingtom

had the ability to produce some aluminum extrusions it exported to the United States, R&R

concluded that Kingtom did not produce all of the extrusions entered by the Importers. Id.

R&R’s conclusion was primarily based upon (1) videos and photographs of Kingtom’s extrusion

presses and personnel; (2) Kingtom’s production records not matching its capabilities and



1
 See Aluminum Extrusions from the People’s Republic of China: Antidumping Duty Order, 76
Fed. Reg. 30,650 (May 26, 2011); Aluminum Extrusions from the People’s Republic of China:
Countervailing Duty Order, 76 Fed. Reg. 30,653 (May 26, 2011) (collectively, the Orders).

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specific equipment molds; (3) Kingtom’s Chinese owners, workers, and suppliers; and (4)

various site visits to Kingtom’s facility. Id.

       Collectively, the Importers commenced three suits to contest CBP’s decisions. The suits

were consolidated; the AEFTC joined as a defendant-intervenor and Kingtom joined as a

plaintiff-intervenor.

                                           ARGUMENT

I.     Standard Of Review

       “When an agency action is reviewed by the courts, . . . the agency may request a remand,

without confessing error, to reconsider its previous position.” SKF USA Inc. v. United States,

254 F.3d 1022, 1029 (Fed. Cir. 2001). “{I}f the agency’s concern is substantial and legitimate, a

remand is usually appropriate.” Id. at 1029. An agency’s concerns are substantial and legitimate

when “(1) [it] supports its request with a compelling justification, (2) the need for finality does

not outweigh the justification, and (3) the scope of the request is appropriate.” Baroque Timber

Indus. (Zhongshan) Co., Ltd. v. United States, 925 F. Supp. 2d 1332, 1338-39 (Ct. Int’l Trade

2013) (citation omitted). See also Citizens Against Pellissippi Parkway Extension, Inc. v.

Mineta, 375 F.3d 412, 416 (6th Cir. 2004) (finding that the district court abused its discretion in

denying voluntary remand that would have “cure[d] the very legal defects asserted by plaintiffs

challenging federal action.”); SKF, 254 F.3d at 1029-30 (stating that “a remand to the agency is

required, absent the most unusual circumstances verging on bad faith,” particularly with respect

to a change in policy relating to the interpretation of an ambiguous statute).

II.    Remand Is Warranted

       Our request for a voluntary remand is substantial and legitimate in that remand would

allow CBP to correct certain procedural deficiencies in the administrative record for EAPA




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Consol. Case No. 7423, namely, to provide the parties with public summaries of business

confidential information, and for the agency to be afforded the opportunity to review and

consider documents that were omitted from the administrative record.

       CBP placed certain business confidential information on the underlying administrative

record, including summaries of site visits and responses to CBP’s Requests for Information, but

the agency did not provide the parties with public summaries of the confidential information as

required by regulation and precedent, and as requested by the parties. See 19 C.F.R. § 165.4;

Royal Brush v. United States, 483 F. Supp. 3d 1294, 1307-08 (Ct. Int’l Trade 2020); Ad Hoc

Shrimp Trade Enforcement Committee v. United States, Court No. 21-00129, Slip Op. 22-53 at

*17-22 (Ct. Int’l Trade, May 23, 2022) (Ad Hoc Shrimp). Remand is thus necessary and

appropriate for CBP to provide the parties with the relevant public summaries.

       Further, multiple documents were mistakenly omitted from the administrative record, and

were thus not reviewed by R&R when rendering its decision on evasion. These omissions have

necessitated three separate motions for leave to supplement the record thus far, which this Court

has granted. See ECF Nos. 31, 32, 48, 49, 51, 52. As the Court has made clear, R&R has an

obligation under its regulations to conduct a de novo review of the entire administrative record,

and remand is required for the agency to do so. See Ad Hoc Shrimp, Slip Op. 22-53 at *13-15;

see also 19 C.F.R. § 165.45.

       Finally, we request remand so that CBP may revisit and reconsider its decision regarding

the central issue before the Court, namely whether there is substantial record evidence of

evasion. In Global, the Court remanded the case to CBP for the agency to reconsider its finding

of evasion. See Court No. 21-00198, ECF No. 92. On remand, CBP determined that the record

lacked substantial evidence of evasion. See Court No. 21-00198, ECF No. 93. As no party




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challenged CBP’s remand determination, the parties, with the exception of the defendant-

intervenor, Ta Chen International, jointly filed a motion for entry of judgment sustaining the

remand determination, which is pending with the Court. See Court No. 21-00198, ECF No. 95.

Given the significant overlap among the parties, issues, and records in Global and the present

action, CBP respectfully requests that it be afforded the opportunity to reevaluate the record

evidence in light of its remand determination in Global and to reconsider its finding of evasion.

Because defendant’s request for remand goes to the heart of the plaintiffs’ and Kingtom’s

challenge to CBP’s decision of evasion, our request is substantial and legitimate, and is

therefore, appropriately made.

       Should the Court grant our request for a remand, CBP will render any remand

determination within 120 days of the Court’s remand order, file the determination within 125

days of the order, and file any supplemental administrative record documents within 140 days of

the order. Given the nature of our request for a remand, we also respectfully request that the

parties be permitted to propose a briefing schedule within 15 days of the filing of the remand

determination, if additional briefing is required. Because CBP has requested an expeditious

remand, the parties will not be unduly prejudiced by the voluntary remand. Accordingly, our

request for a voluntary remand should be granted.

       Counsel for the Government has conferred with counsel for the parties in the

consolidated action. Lizbeth Levinson of Fox Rothschild LLP consented to the relief requested

on behalf of plaintiffs H&E Home, Inc. and Classic Metals Suppliers; David J. Craven of Craven

Trade Law LLC consented to the relief requested on behalf of consolidated plaintiff Global

Aluminum Distributor LLC; Beth Ring of Sandler, Travis & Rosenberg, PA consented to the

relief requested on behalf of consolidated plaintiffs Industrias Feliciano Aluminum, Inc., JL




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Trading Corp. and Puertas Y Ventanas J.M., Inc.; Brady Mills of Morris, Manning & Martin,

LLP consented to the relief requested on behalf of plaintiff-intervenor Kingtom Aluminio S.R.L.;

and Robert DeFrancesco of Wiley Rein LLP indicated that defendant-intervenor, the AEFTC,

does not consent and will be filing an opposition to the motion.

       For these reasons, we respectfully request that the Court grant our motion.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             PATRICIA M. McCARTHY
                                             Director

                                     By:     /s/ Justin R. Miller
                                             JUSTIN R. MILLER
                                             Attorney-In-Charge
                                             International Trade Field Office

                                             /s/ Aimee Lee
                                             AIMEE LEE
                                             Assistant Director

                                             /s/ Alexander Vanderweide
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                                             Attorneys for Defendant

August 5, 2022




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                            CERTIFICATE OF COMPLIANCE

       I hereby certify, pursuant to section 2(B)(1) of the Standard Chambers Procedures of this

Court, that this motion contains 1914 words, excluding any materials excluded from those

Procedures’ requirements, as calculated by the word processing system used to prepare this brief

(Microsoft Word).

                                      /s/ Alexander Vanderweide




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